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14                          UNITED STATES DISTRICT COURT
15                        CENTRAL DISTRICT OF CALIFORNIA
16                                   WESTERN DIVISION
17
       JENNY LISETTE FLORES, et al., )           Case No. 2:85-cv-04544-DMG
18                                           )
19          Plaintiffs,                      )   JOINT STATUS REPORT IN
                                             )   RESPONSE TO ORDER, ECF NO.
20
       v.                                    )   1440
21                                           )
22     MERRICK GARLAND, Attorney )               Hearing Date: August 2, 2024
       General of the United States, et al., )   Time: 11:00 a.m.
23                                           )   Hon. Dolly M. Gee
24          Defendants.                      )
25
            On June 21, 2024, the Court ordered the parties to “meet and confer by July
26
      19, 2024 regarding the present conditions at the [open-air detention sites (‘OADS’)],
27
      the status of any minors detained at the OADS, and how [U.S. Customs and Border
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 1 Protection (‘CBP’)] can come into compliance with both the [Flores Settlement
 2 Agreement (‘FSA’)] and the Court’s April 3, 2024 Order.” ECF No. 1440. The Court
 3 also ordered the parties to file a joint status report by July 26, 2024, prior to a status
 4 conference set for August 2, 2024. Id. The parties submit this joint status report in
 5 accordance with the Court’s instructions.
 6         On Tuesday, July 16, 2024, the parties met and conferred. The parties agreed
 7 that the overall number of apprehensions in the San Diego Sector (“SDC”) has fallen
 8 over the last several weeks. Defendants informed Plaintiffs that CBP distributed
 9 guidance on June 5, 2024, to ensure compliance with the Court’s April 3, 2024
10 Order. The parties discussed their respective understandings of the current factual
11 situation. The parties continue to disagree regarding the present conditions at the
12 OADS, the status of any minors at these locations, and whether CBP is in compliance
13 with the FSA and the Court’s April 3, 2024 Order.
14 I.      DEFENDANTS’ REPORT
15         A.    Present Conditions at Outdoor Congregation Areas
16         From June 1 to July 23, 2024, the overall numbers of apprehensions have
17 decreased notably in the San Diego Sector (“SDC”). See Defs. Ex. A, Declaration of
18 RJay S. Rippel (“Rippel Decl.”) ¶ 4. Since June 1, 2024, SDC has documented nine
19 events with over 50 individuals congregating in these areas. Id. The specific areas
20 where these nine groups congregated were in the Brown Field Station area of
21 operations (Gun Club, Cuchama Gate & Hwy 94), and the Boulevard Station area of
22 operations (Zone 32 A). Id. These groups were transported from these areas within
23 two hours of apprehension by a Border Patrol agent. Id.
24         In the areas that continue to be used by individuals, the number of minors
25 apprehended has been much lower. Due to the smaller numbers, CBP is able to
26 transport individuals much quicker than in the past. Once any minors or family units
27 are apprehended, they are promptly taken into custody and transported to Border
28 Patrol facilities.

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 1         B.    Compliance with the FSA and the Court’s April 3, 2024 Order
 2         On June 5, 2024, Border Patrol issued a guidance memorandum to all sectors
 3 about compliance with the Court’s April 3, 2024 Order. Given the complexity of the
 4 situation on the ground, and the factual and legal findings of the Court, the
 5 memorandum was written following a thorough assessment and agency review
 6 process. The memorandum instructs agents not to direct noncitizens to outdoor
 7 congregation areas where noncitizens have begun congregating or to encourage
 8 noncitizens to congregate in certain areas. It instructs agents not to organize,
 9 prioritize, or triage individuals unless taking steps to apprehend them, and reminds
10 agents that telling individuals not to leave a certain area may trigger custodial
11 obligations. The memorandum states that agents will not install temporary physical
12 barriers around outdoor congregation areas and will not prevent volunteers or other
13 members of the public from accessing areas in which noncitizens are congregating,
14 unless the area is already restricted to the public or an individual is determined to
15 pose a risk to the life and safety of noncitizens or CBP personnel. Even in restricted
16 areas, agents are instructed not to limit volunteers’ and advocates’ ability to remain
17 near the area and interact with any noncitizens in the area. The memorandum also
18 requires agents to prioritize the transportation and processing of family units and
19 unaccompanied minors at the time of apprehension. Finally, consistent with the
20 memorandum, CBP may provide humanitarian aid to meet the needs of individuals
21 who are waiting to be transported to Border Patrol facilities on a case-by-case basis.
22         As a result of implementing the guidance issued on June 5 and the lower
23 numbers of apprehensions, CBP is in compliance with the FSA and with each part
24 of the Court’s April 3, 2024 Order. See ECF No. 1406, at 11–12. CBP is
25 expeditiously processing class members in custody. Within a few hours of
26 apprehending minors in the field, CBP is placing them in facilities that are safe and
27 sanitary and that are consistent with DHS’s concern for the particular vulnerability
28 of minors. CBP is not directing minors to outdoor congregation areas or holding

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 1 minors in outdoor congregation areas, except for the amount of time DHS reasonably
 2 requires to prepare the minor and actively arrange for transport of the minor to a
 3 suitable facility. In addition, the CBP Juvenile Coordinator is maintaining statistical
 4 information on minors held in CBP custody for more than 72 hours, and the CBP
 5 Juvenile Coordinator is monitoring compliance with the FSA with respect to any
 6 minors apprehended in outdoor congregation areas. Finally, CBP is providing class
 7 members contact with family members apprehended with the minor.
 8         During the meet-and-confer, Plaintiffs expressed concern that certain minors
 9 are still being directed to outdoor locations from which CBP transports them to
10 Border Patrol facilities. CBP is not aware of agents directing minors to travel to any
11 outdoor congregation areas, and the June 5, 2024 guidance prohibits such direction.
12 Even if Plaintiffs’ view of the factual situation is correct, however, CBP is in
13 compliance with the Court’s Order because direction is permitted for the purpose of
14 arranging transport of minors from the field. CBP also notes that only directing
15 minors to outdoor congregation areas does not necessarily trigger legal custody
16 when CBP has not exercised discretion over an individual’s health and welfare or
17 otherwise taken physical control of an individual. In the April 3, 2024 Order, the
18 Court held that minors were in CBP’s custody when CBP agents had discretion as
19 to minors’ health and welfare (although noting that the “mere provision of
20 humanitarian aid would not necessarily imply” custody); and exercised physical
21 control over minors by directing and transporting migrants to the outdoor
22 congregation areas, telling migrants they must stay in certain areas, passing out
23 wristbands, and lining up and counting migrants. ECF No. 1406, at 6–9. Rather,
24 here, CBP is not directing minors to specific areas and even if that did occur, CBP
25 is swiftly transporting minors from the field to safe and sanitary Border Patrol
26 facilities that provide the necessary amenities.
27
28

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 1 II.      PLAINTIFFS’ REPORT
 2          U.S. Customs and Border Protection (“CBP”) has failed to comply with the
 3 Court’s April 3, 2024, order regarding Open Air Detention Sites (“OADS”). See
 4 Order re CBP Juvenile Care Coordinator’s Interim Report, June 21, 2024 [Doc.
 5 # 1440]; Order re Pls.’ Mot. to Enforce Settlement Re Open Air Detention Sites,
 6 April 3, 2024 [Doc. # 1406] (“April 3 Order”). Moreover, as detailed below, the
 7 guidance CBP issued to ensure compliance is plainly insufficient. Plaintiffs
 8 respectfully request the Court order further remedial measures to protect children’s
 9
      safety. Specifically, Plaintiffs request the Court order Defendants issue new
10
      guidance requiring that: (1) CBP immediately begin arranging transport for class
11
      members who are directed to proceed to and/or remain at an open-air site; (2) CBP
12
      ensure class members have immediate access to drinking water and that their other
13
      immediate medical and safety needs are met; and (3) CBP document a child’s
14
      length of stay at open-air sites beginning at the time CBP first encounters and
15
      directs a child to proceed to and/or remain in an open-air site.
16
17          A. CBP’s Internal Guidance is Insufficient to Ensure Compliance with
18             the Court’s Order

19          During the Parties’ meet and confer discussion on July 16, 2024, Defendants

20 represented that CBP was implementing the Court’s April 3 Order through new
21 internal guidance. Following this conversation, Defendants shared a three-page
22 guidance memorandum dated June 5, 2024.
                                                   1


23          The June 5 guidance fails to comply with the Court’s order and is
24 insufficient to protect class members’ rights. Rather than provide clear guidance on
25
26 1 It is unacceptable that CBP took over two months to issue basic guidance
   implementing the Court’s order, which was effective immediately. See April 3 Order
27 at 11-12. Between April and June, numerous class members were placed in danger
28 because of CBP’s failure to comply. See Pls.’ Response to CBP Juvenile Coordinator
   Report on Open-Air Detention Sites, May 17, 2024 [Doc. # 1422] (“Pls. Response”).

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 1 steps CBP agents should take upon encountering noncitizens, CBP’s guidance aims
 2 to avoid custodial responsibilities altogether by instructing agents not to direct
 3 noncitizens to outdoor congregation areas and not to take other actions that might
 4 indicate custody. In practice, however, CBP agents continue to direct and/or
 5 transport noncitizens—including children—to specific outdoor sites to await
 6 processing for hours without adequate water, food, or shelter. See Declaration of
 7 Pedro Rios ¶¶ 5-7, July 19, 2024 (“Rios Dec.”); Declaration of Erika Pinheiro ¶¶ 9-
 8
      11, July 25, 2024 (“Pinheiro Dec.”). This same pattern has persisted throughout
 9
      this litigation—CBP consistently claims that it does not direct or transport
10
      noncitizens to open-air sites while the evidence on the ground plainly demonstrates
11
      otherwise. See April 3 Order at 8; Pls. Response at 3-4; cf. Declaration of Brent L.
12
      Schwerdtfeger ¶ 15, March 15, 2024 [Doc. # 1398-1] (“Schwerdtfeger Dec.”).
13
            Because CBP’s guidance fails to acknowledge the reality that CBP agents
14
      are directing noncitizens to open-air sites, it does not include directives necessary
15
      to comply with the Court’s order. In other words, if a CBP agent encounters a
16
      noncitizen child suspected to be inadmissible and is unable to immediately
17
18 transport the child, the current guidance tells the agent what not to do but does not
19 provide affirmative instructions as to what the agent must do. As a result, children
20 are left in unsafe conditions while CBP attempts to avoid responsibility.
21        The Court ordered CBP to “cease directing minors to open-air sites or
22 holding minors in open-air sites, except for the amount of time DHS reasonably
23 requires to prepare the minor and/or actively arrange for transport of the minor to a
24 more suitable facility, as this behavior constitutes unnecessary delay.” April 3
25 Order at 11-12 ¶ 3. CBP’s guidance, by contrast, instructs agents that they should
26 not organize, prioritize, or triage noncitizens at outdoor sites. The guidance goes on
27 to state that agents will prioritize the transport and processing of family units and
28 unaccompanied children “[a]t the time of apprehension.” The term “apprehension”

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 1 is undefined in the guidance, however, and Defendants have previously argued that
 2 apprehension does not occur until the noncitizen is formally processed and
 3 transported out of the open-air site. See Defendants’ Opposition to Motion to
 4 Enforce at 10-13, March 15, 2024 [Doc. # 1398]. Rather than requiring expeditious
 5 processing from the time CBP first directs or holds minors in open-air sites—as
 6 required by the Court’s order—the CBP guidance appears to prohibit prioritizing
 7 children for processing until such time that CBP agents unilaterally decide to
 8
      transport the child. At a minimum, agents are receiving unclear and contradictory
 9
      instructions as to when to prioritize children for processing.
10
            Similarly, while the Court ordered that statistical information be “inclusive
11
      of the amount of time any Class Member spends in the open-air sites,” April 3
12
      Order at 12 ¶ 4, CBP’s guidance indicates that length of time in custody begins at
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      the time of apprehension. As just discussed, CBP appears to define apprehension
14
      much more narrowly than the Court’s order and thus the CBP guidance does not
15
      count the time a child is held at an open-air site toward the child’s length of stay.
16
      The CBP Juvenile Coordinator’s report indicated that length of time in custody is
17
18 calculated from the time of the field interview, which may occur long after a child
19 is first directed to an open-air site. See Pls. Response at 5-6.
20          Alarmingly, the guidance indicates that sectors may provide limited
21 humanitarian aid but does not require agents to take any steps to ensure that class
22 members are safe and are treated “with special concern for their particular
23 vulnerability as minors.” FSA ¶¶ 11-12. In recent weeks CBP agents have directed
24 children to walk for miles to open-air sites in extremely hot temperatures without
25 offering water or taking other minimal steps to ensure the child’s immediate safety.
26 See Pinheiro Dec. ¶¶ 9, 11. CBP agents have also directed injured children to walk
27 to open-air sites without providing any medical assistance. See Declaration of
28 Lilian Serrano ¶ 9, May 17, 2024 [Doc. # 1422-12].

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 1          CBP’s guidance largely reasserts CBP’s previously rejected factual and legal
 2 positions and does not protect class members. Although Plaintiffs acknowledge
 3 that the numbers of children in open-air sites have decreased, this appears to be
 4 largely the result of a decrease in unauthorized crossings in the San Diego Sector
 5 rather than a change in CBP policy. Children remain at risk and will continue to be
 6 at risk until CBP implements policies and practices that fully protect their rights
 7 under the Settlement. Further remedial measures are therefore necessary. See April
 8
      3 Order at 11 (“Failure to process minors in a reasonably expeditious manner
 9
      following notice of this decision may result in further remedial measures.”).
10
11             B. Additional Remedial Measures are Necessary to Ensure
                  Compliance
12
            Plaintiffs respectfully request the Court order CBP to immediately issue new
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      guidance that sets out affirmative steps CBP agents must take when they encounter
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      someone they suspect to be an inadmissible child, including at a minimum: (1) if a
15
      CBP agent directs the child to proceed to and/or remain at an open-air site, the
16
      agent must immediately begin arranging transport for the child and document these
17
18 efforts; (2) from the time CBP directs a child to proceed to and/or remain at an
19 open-air site until the child is transported to a safe and sanitary facility, CBP must
20 ensure the child has drinking water and that the child’s other immediate medical
21 and safety needs are met, consistent with CBP’s special concern for the particular
22 vulnerability of minors; and (3) the child’s length of stay must be documented
23 beginning at the time CBP first encounters and directs a child to proceed to and/or
24 remain in an open-air site. Direction to an accompanying adult should be
25 considered direction to the child, even if a CBP agent does not speak to the child
26 individually.
27          Plaintiffs further request the Court order the CBP Juvenile Coordinator
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 1 provide a comprehensive report on CBP’s compliance with the Court’s orders and
 2 CBP’s implementation and enforcement of its internal guidance, including
 3 statistical information on children’s length of stay over the entire reporting period
 4 (inclusive of the time in open-air sites). See April 3 Order at 12 ¶ 4. Plaintiffs
 5 believe that further monitoring by the Independent Monitor and Special Medical
 6 Expert may also be beneficial.
 7
 8 Dated: July 26, 2024                     Respectfully submitted,
 9
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22
                            Attestation of Authorization to File
23
     All other signatories listed, and on whose behalf the filing is submitted, concur in
24
     the filing’s content and have authorized the filing.
25
26                                           /s/ Fizza Batool
27                                           FIZZA BATOOL
                                             Trial Attorney
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 1                             CERTIFICATE OF SERVICE
 2        I certify that on July 26, 2024, I served a copy of the foregoing pleading and
 3 attachments on all counsel of record by means of the District Court’s CM/ECF
 4 electronic filing system.
 5
 6                                               /s/ Fizza Batool
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 7                                               Trial Attorney
 8                                               U.S. Department of Justice
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